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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  JOLENE ANDERSON, ET AL.,

                             Plaintiffs,


                    v.                                   Civil Action No. 23-1259 (DLF)

  DEPARTMENT OF HOUSING AND
  URBAN DEVELOPMENT, ET AL.,

                             Defendants.



               UNOPPOSED MOTION TO STAY DEADLINE TO RESPOND

       Defendants, the U.S. Department of Housing and Urban Development and Marcia Fudge,

in her official capacity as Secretary of Housing and Urban Development (collectively,

“Defendants”), by and through undersigned counsel, respectfully move for an indefinite stay of

their deadline to file their answer or otherwise respond to the Complaint filed by Plaintiffs (ECF

No. 1). The current deadline is August 4, 2023. Defendants move further to preserve their right

to raise all defenses enumerated in Federal Rule of Civil Procedure (“Rule”) 12(b) until such time

as they might file a responsive pleading. Pursuant to Local Civil Rule 7(m), undersigned counsel

has conferred with counsel for Plaintiffs and understands that Plaintiffs do not oppose the relief

requested herein.

                                           BACKGROUND

       1.       On May 3, 2023, Plaintiffs filed their Complaint. ECF No. 1.

       2.       On May 3, 2023, Plaintiffs filed a motion for preliminary injunction. ECF No. 3.

       3.       The motion for preliminary injunction is fully briefed and oral argument was held

on July 10, 2023. ECF Nos. 20, 22; Min. Entry (July 10, 2023).
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         4.       Defendants’ responsive pleading is due August 4, 2023. Min. Order (Jun. 28,

2023).

                               BASIS FOR EXTENSION REQUEST

         5.       The Defendants respectfully request that the Court indefinitely stay their deadline

to file their responsive pleading and preserve their right to raise all defenses enumerated in Rule

12(b). The requested relief is necessary for the following reasons:

                  a.     The preliminary injunction in this case has been briefed and the Court has

heard oral argument on the motion. After the Court issues its decision on Plaintiff’s Motion,

Defendants will need to compile and produce an administrative record and the parties expect to

brief summary judgment.

                  b.     Undersigned counsel understands from agency counsel that a considerable

amount of time and resources will be needed to compile the administrative record and to prepare

a draft of Defendants’ motion for summary judgment.

                  c.     Undersigned counsel does not expect that any answer or other responsive

pleading Defendants might file would assist the Court in its assessment of Defendants’ eventual

motion for summary judgment.

                  d.     Undersigned counsel has a robust caseload.        In addition to regularly

negotiating joint status reports in other matters, undersigned counsel has several responsive

pleadings and substantive briefs due in late July and August, had a mediation July 26, 2023, and

has regular medical appointments in connection with her pregnancy.

                                                * * *

         Consequently, undersigned counsel Defendants respectfully request that the Court stay

their deadline to file a responsive pleading so that they might focus limited government resources




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on compiling the administrative record and drafting their motion for summary judgment. A

proposed order is attached.



Dated: July 27, 2023
       Washington, DC
                                          Respectfully submitted,

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                                          Chief, Civil Division

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